                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                     ASHEVILLE DIVISION

JANE ROE,                              )
                                       )
                        Plaintiff,     )
                                       )
v.                                     )              Civil No. 1:20-cv-00066-WGY
                                       )
UNITED STATES OF AMERICA, et al.,      )
                                       )
                        Defendants.    )
                                       )
_______________________________________)

                                      NOTICE OF APPEAL

       Notice is hereby given that Plaintiff Jane Roe hereby appeals to the United States Court

of Appeals for the Fourth Circuit from (1) this Court’s order and judgment of December 30,

2020 dismissing Roe’s claims (ECF Nos. 102, 103) (2) this Court’s order of January 29, 2021

denying Roe’s motion for reconsideration (Entry Order Dated Jan. 29, 2021), and (3) all other

orders, holdings, or rulings that are related to or encompassed by those orders. See Fed. R. App.

P. 4(a)(1)(B)(i)–(iv) (notice of appeal “may be filed by any party within 60 days after entry of

the judgment or order appealed from” if the United States or a federal agency or officer is a

party); Fed. R. App. P. 4(a)(4)(A)(iv) (where a motion “to alter or amend the judgment under

Rule 59” is timely filed, “the time to file an appeal runs for all parties from the entry of the order

disposing of the last such remaining motion”).

       This the 29th day of March, 2021.

                                                               Respectfully Submitted,

                                                               /s/ Cooper Strickland
                                                               Cooper Strickland
                                                               N.C. Bar No. 43242

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                                       Counsel for Plaintiff




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                                 CERTIFICATE OF SERVICE
I hereby certify that on the 29th day of March, 2021, I will electronically file the foregoing with

the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

(NEF) to the following:

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